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1    Carney R. Shegerian, Esq., State Bar No.150461
     CShegerian@Shegerianlaw.com
2    Mahru Madjidi, Esq., State Bar No. 297906
     MMadjidi@Shegerianlaw.com
3    Alex DiBona, Esq. State Bar No.
     ADibona@Shegerianlaw.com
4    SHEGERIAN & ASSOCIATES, INC.
     320 North Larchmont Boulevard
5    Los Angeles, California 9004
     Telephone Number: (310) 860-0770
6    Facsimile Number: (310) 860 0771
7    Attorneys for Plaintiff,
     ALEX VILLANUEVA
8
                    THE UNITED STATES DISTRICT COURT FOR THE
9
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11   ALEX VILLANUEVA,                         Case No.: 2:24 -cv-04979 SVW (JC)
12         Plaintiff,                         The Honorable Stephen V. Wilson
13   vs.                                      Assigned to Magistrate Judge Jacqueline
                                              Chooljian
14   COUNTY OF LOS ANGELES,
     COUNTY OF LOS ANGELES                    PLAINTIFF’S MOTION TO EXCLUDE
15   SHERIFF’S DEPARTMENT, LOS                EXPERT REPORT, OPINION, AND
     ANGELES COUNTY BOARD OF                  TESTIMONY OF VIDA THOMAS
16   SUPERVISORS, COUNTY EQUITY
     OVERSIGHT PANEL, LOS                     (MIL NO. 6 OF 6)
17   ANGELES COUNTY OFFICE OF
     INSPECTOR GENERAL,                       [Filed concurrent with Declaration of Alex
18   CONSTANCE KOMOROSKI,                     DiBona (“DiBona Decl.”), Exhibits and
     MERCEDES CRUZ, ROBERTA                   Proposed Order thereon]
19   YANG, LAURA LECRIVAIN,
     SERGIO V. ESCOBEDO, RON                  Date: May 26, 2025
20   KOPPERUD, ROBERT G. LUNA,                Time: 1:30 p.m.
     MAX-GUSTAF HUNTSMAN,                     Dept.: 10A
21   ESTHER LIM, and DOES 1 to 100,
     inclusive,
22
           Defendants.
23                                            Trial Date:   June 3, 2025
                                              Action Filed: June 13, 2024
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       PLAINTIFF’S MOTION TO EXCLUDE EXPERT REPORT, OPINION, AND TESTIMONY OF VIDA THOMAS
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1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2                 PLEASE TAKE NOTICE that on May 26, 2025, or as soon thereafter as the
3    matter may be heard before the Honorable Stephen V. Wilson in Courtroom 10A of the
4    United States District Court for the Central District of California, located at 350 West 1st
5    Street, Los Angeles, California 90012, Plaintiff Alex Villanueva (“Plaintiff” or
6    “Villanueva”) will and hereby does move the Court to exclude the expert report, opinions,
7    and potential testimony of Defendants’ expert Vida Thomas (“Thomas”) pursuant to
8    Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509
9    U.S. 579 (1993).
10        This motion is made on the grounds that Thomas’ opinions are impermissible legal
11   conclusions that usurp the role of the Court and jury, are not based on reliable methodology
12   or specialized knowledge, and fail to meet the threshold standards for admissibility under
13   Rule 702. Thomas does not apply any independent human resources industry standards or
14   scientific methodology to assess the facts of the case. Instead, she parrots legal standards
15   and renders ultimate legal conclusions, thereby transforming her report into a legal brief
16   disguised as expert testimony.
17        This motion is based on this Notice of Motion and Motion, the accompanying
18   Memorandum of Points and Authorities, the Declaration of Alex DiBona, Esq. and
19   attached exhibits, the pleadings and records in this action, and such other argument and
20   evidence as may be presented at the hearing on this matter.
21

22   Dated: April 28, 2025                    SHEGERIAN & ASSOCIATES, INC.
23

24                                      By:
                                              Alex DiBona, Esq.
25
                                              Attorneys for Plaintiff,
26                                            ALEX VILLANUEVA
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       PLAINTIFF’S MOTION TO EXCLUDE EXPERT REPORT, OPINION, AND TESTIMONY OF VIDA THOMAS
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2         1. INTRODUCTION
3         Plaintiff Alex Villanueva (“Plaintiff” or “Villanueva”) moves to exclude the expert
4    report, opinion, and potential testimony of Vida Thomas (“Thomas”), Defendants’
5    designated expert on human resources issues, as follows:
6         Defendants designated an employment lawyer, Thomas, to “render an opinion of the
7    Defendant’s actions in response to complaints of workplace discrimination, harassment
8    and retaliation, including what is considered typical and acceptable human resource
9    practice regarding responding to and investigating such complaints.” (See Exh. 1, Thomas
10   Report at p. 18.) However, Thomas’ description of her role misrepresents the true nature
11   of her submission. Her purported “opinions” consist primarily of improper legal
12   conclusions rather than admissible expert testimony. Moreover, many of her “opinions”
13   exceed the scope of her qualifications and are rooted in subjective value judgments rather
14   than any established or objective standard. For example, Ms. Thomas, who is a lawyer,
15   gives the “applicable standards” and cites Supreme Court opinions and EEOC guidance.
16   (Id.) Ms. Thomas further purports to state the standard for liability for retaliation. (Id. at
17   7). It is clear that this is not a “human resource” expert but simply a legal brief.
18        As such, her opinions are unhelpful to the jury and inherently unreliable.
19   Consequently, the Court should strike Thomas’ expert report, opinions, and potential
20   testimony.
21        2. STANDARD OF REVIEW
22        Federal Rule of Evidence 104(a) assigns to the Court the responsibility for resolving
23   preliminary questions concerning witness qualification and the admissibility of evidence.
24   FED. R. EVID. 104(a). Rule 702 sets forth expert qualifications and permits an expert to
25   testify only if: (a) her scientific, technical, or other specialized knowledge will help the
26   trier of fact to understand the evidence or to determine a fact in issue; (b) her testimony is
27   based on sufficient facts or data; (c) her testimony is the product of reliable principles and
28   methods; and (d) she has reliably applied the principles and methods to the facts of the

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1    case. FED. R. EVID. 702. In practical terms, this means the court “must ensure that all
2    admitted expert testimony is both relevant and reliable.” Grodzitsky v. Am. Honda Motor
3    Co., Inc., 957 F.3d 979, 984 (9th Cir. 2020) (citation omitted); accord Daubert v. Merrell
4    Dow Pharms., Inc., 509 U.S. 579, 598 (1993).
5         Importantly, “[t]he party offering the expert bears the burden of establishing that Rule
6    702 is satisfied.” Speer v. Cnty. of San Bernardino, No. EDCV 20-44 JGB (SPX), 2021
7    WL 4459680, at *2 (C.D. Cal. July 9, 2021) (quoting Sundance Image Tech., Inc. v. Cone
8    Editions Press, Ltd., 2007 WL 935703, *4 (S.D. Cal. Mar. 7, 2007)).
9         3. ARGUMENT
10        Thomas’ report, opinion, and potential testimony Rule 702 and Daubert criteria in
11   several ways.
12        A. Thomas’ Opinions are Legal Conclusions.
13        It is well-settled that “an expert witness cannot give an opinion as to her legal
14   conclusion, i.e., an opinion on an ultimate issue of law” because “instructing the jury as to
15   the applicable law is the distinct and exclusive province of the court.” Nationwide Transp.
16   Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1058 (9th Cir. 2008) (citation omitted); see
17   also Summers v. A.L. Gilbert Co. 69 Cal. App. 4th 1155, 1179 (“[T]he calling of lawyers
18   as ‘expert witnesses’ to give opinions as to the application of the law to particular facts
19   usurps the duty of the trial court to instruct the jury on the law as applicable to the facts).
20   Thomas’ report, opinions, and potential testimony undeniably violate this prohibition.
21         Thomas is an employment lawyer whose firm conducts workplace investigations.
22   (See Exh. 1 at pp. 1-2). Her report is not an expert analysis, it is a legal brief masquerading
23   as expert opinion. While she attempts to obscure her legal conclusions by characterizing
24   them under the guise of “well-developed standards in the human resource field,” she
25   simply cites legal obligations, followed by the application of the legal principles to the
26   facts provided by Defendants’ Counsel. For example:
27
        • She recites and applies Burlington Indus., Inc. v. Ellerth, 524 U.S. 742 (1998), and
28        Faragher v. City of Boca Raton, 524 U.S. 775 (1998), to assert that the County is

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        PLAINTIFF’S MOTION TO EXCLUDE EXPERT REPORT, OPINION, AND TESTIMONY OF VIDA THOMAS
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1             entitled to a legal affirmative defense because of its internal policies. (Exh. 1 at p.
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              7.)

3          • She interprets California precedent such as Cotran v. Rollins Hudig Hall Intl., Inc.,
             17 Cal. 4th 93 (1998), to conclude the County's investigation grants it “qualified
4
             immunity from liability.” (Id.)
5
           • She declares that the County’s internal decisions conformed to “well-established
6            HR standards,” though her supporting explanation consists solely of references to
             DFEH and EEOC legal guidance. (Id. at pp. 8–9.)
7
            None of these standards derive from Ms. Thomas’s expertise in “human resources”
8
     issues, they are not gleaned from knowledge of industry practices or procedures, nor does
9
     Ms. Thomas ever claim they do. (See generally Exh. 1). Instead, she effectively admits
10
     that what she calls “standards in the human resource field” are simply legal principles in
11
     disguise. Mid-way through her report, for instance, she cites certain court cases and EEOC
12
     guidance for the legal proposition that “[e]mployees are to be protected from retaliation
13
     regardless of whether there was a finding of discrimination or harassment.” (Exh. 1 at p.
14
     7.)
15
             A few paragraphs later, what was previously an expressly legal proposition she now
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     calls “[a] well-developed standard in the human resource field.” (Id. at p. 8) (“well-
17
     developed standards in the human resource field relating to practices in preventing and
18
     responding to workplace complaints of harassment, misconduct, discrimination, threats of
19
     violence and retaliation and how to investigate a complaint.”) Thus, this deceptive labeling
20
     is an improper attempt to mask the fact that Thomas’ report is a legal brief. See Elliott v.
21
     Versa CIC, L.P., 349 F. Supp. 3d 1004, 1006 (S.D. Cal. 2018) (excluding expert where,
22
     “through the guise of an expert on real estate and property management ‘standards of care,’
23
     Defendants seek to proffer [the expert] to opine on the ultimate question of whether
24
     Plaintiffs suffered discrimination in violation of federal and state law.”).
25
             B. Thomas Lacks Expertise in Government Employment Practices and Her
26
                Opinions Rely Entirely on Defendants’ Narrative.
27
             Thomas lacks any specialized expertise in public sector employment practices or
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           PLAINTIFF’S MOTION TO EXCLUDE EXPERT REPORT, OPINION, AND TESTIMONY OF VIDA THOMAS
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1    governmental disciplinary policies, including the use and implementation of “Do Not
2    Rehire” lists. Her professional background is rooted in representing private employers and
3    conducting investigations, not in navigating the complex procedural frameworks that
4    govern public employment decisions or civil service protections. Despite this, she opines
5    on the propriety of the County’s “Do Not Rehire” designation as though it reflects a
6    universally accepted HR standard. (Exh. 1 at pp. 9–10.) She fails to cite any data, policy
7    studies, or industry-wide benchmarking related to the use of rehire bans within large
8    government employers.
9            Moreover, her methodology appears to consist of nothing more than accepting as
10   valid the factual narrative and internal justifications supplied by Defendants’ Counsel. Her
11   report reveals no effort to independently evaluate how other government agencies handle
12   similar rehire decisions, nor does it reflect any critical inquiry or analysis. Instead, Thomas
13   simply adopts what the County did and offers a blanket endorsement of those actions as
14   “reasonable” and “in accordance with HR standards.” This subjective alignment with the
15   Defendants’ litigation position further undermines Thomas’ credibility and reinforces that
16   her testimony is litigation advocacy, not expert analysis.
17           4. CONCLUSION.
18           Thomas’ report, opinions, and potential testimony offer only improper legal
19   conclusions and irrelevant, unreliable, and unhelpful opinions. In short, she offers only
20   legal argument in the guise of legitimate expert testimony. Since Defendants cannot meet
21   their obligation to satisfy the Rule 702 and Daubert standards, the Court should strike
22   Thomas as a witness and preclude her from offering any report, opinions, or testimony in
23   this matter.
24   ///
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3    Dated: April 28, 2025                SHEGERIAN & ASSOCIATES, INC.
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5                                   By:
                                          Alex DiBona, Esq.
6
                                          Attorneys for Plaintiff,
7                                         ALEX VILLANUEVA
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1    VILLANUEVA v. COUNTY OF LOS ANGELES, et al. USDC Case No. 2:24-cv-04979 SVW (JC)
2                                   PROOF OF SERVICE
3                           UNITED STATES DISTRICT COURT
4            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
5         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 11520 San Vicente
6    Boulevard, Los Angeles, California 90049.
7    On April 28, 2025, I served the foregoing document, described as “PLAINTIFF’S
     MOTION TO EXCLUDE EXPERT REPORT, OPINION, AND TESTIMONY OF
8    VIDA THOMAS,” on all interested parties in this action as follows:
9    Louis R. Miller (State Bar No. 54141)
     smiller@millerbarondess.com
10   Jason H. Tokoro (State Bar No. 252345)
     jtokoro@millerbarondess.com
11   Steven G. Williamson (State Bar No. 343842)
     swilliamson@millerbarondess.com
12   MILLER BARONDESS, LLP
     2121 Avenue of the Stars, Suite 2600
13   Los Angeles, California 90067
14
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
15         document(s) with the Clerk of the Court by using the CM/ECF system. Participants
           in the case who are registered CM/ECF users will be served by the CM/ECF system.
16         Participants in the case who are not registered CM/ECF users will be served by mail
           or by other means permitted by the court rules.
17
           (FEDERAL) I declare that I am employed in the office of a member of the bar of
18         this Court at whose direction the service was made.
19        Executed on April 28, 2025, at Los Angeles, California.
20

21                                               Amelia Sanchez
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